                  Case 2:16-cv-05880-MSG Document 10 Filed 05/09/17 Page 1 of 1

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                                                     May 9, 2017


     VIA ECF
     Honorable Mitchell S. Goldberg
     United States District Court
     Eastern District of Pennsylvania
     601 Market Street
     Philadelphia, PA 19106


               Re:          Robert M. Morris v. Vital Recovery Services, LLC, et. al.
                            USDC, E.D. Pa., 2:16-cv-05880-MSG


     Your Honor:

             Kindly be advised the above referenced matter has been recently settled as to Defendant,
     Vital Recovery Services, LLC only. We are waiting for circulation of the necessary paperwork in
     order to finalize the settlement.

               Thank you for your time and consideration of this matter.


                                                       Sincerely,

                                                       /s/ Brent F. Vullings

                                                       Brent F. Vullings, Esq.


     BFV:fc
     cc:    Steven Andreacchi, Esq. (via ECF)
            Ronald S. Canter, Esq. (via ECF)
